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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 PETER A. CHIEJINA, et al.,
                                                       No. 1:21-cv-02241-RJL
                   Petitioners,

            vs.

 FEDERAL REPUBLIC OF NIGERIA,

                   Respondent


 REPLY IN SUPPORT OF PETITIONERS’ MOTION FOR A RULE 16 CONFERENCE

        1.        On March 27, 2024, a week after the petitioners filed this motion, counsel for

Nigeria forwarded to counsel for the petitioners a statement from his colleagues in Paris, who are

in communication with the Nigerian government. The email stated that the President had

“(again) approved the payment,” and that the solicitor general “is checking today with the

Minister of Finance. She will get back to us later in the day and perhaps also send a letter from

her office that you can show to opposing counsel. … [W]e expect the payment to come through

shortly.” Despite a request, no letter was ever provided. A true copy of the correspondence is

attached as Exhibit 1.

        2.        On April 3, 2024, counsel for Nigeria wrote: “I’m told the wire was initiated and

should have cleared. Can you ask your client if he received the funds?” To date, no funds have

been received, and no explanation provided. A true copy of the correspondence is attached as

Exhibit 2.

        3.        This situation is extremely unusual. Nigeria is not repudiating the settlement or

suggesting it is not going to pay. To the contrary, it professes that it wants to pay and indeed that

it has paid. Yet no payment has been received. This cannot go on forever. A Rule 16 conference


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will provide an opportunity for Nigeria to provide a real explanation for what is going on and a

real timeframe for making the payment it has promised. And it will provide both parties and the

Court an opportunity to decide on the next steps should Nigeria not do what it has repeatedly

promised. The petitioners should not have to wait an indefinite period of time for these answers.


                                                     Respectfully submitted,

                                                     PETER A. CHIEJINA and
                                                     PICCOL NIGERIA, LTD.

                                                     By their attorney:

                                                     /s/ Theodore J. Folkman

                                                     Theodore J. Folkman
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Dated: April 8, 2024




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